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 1 MCGREGOR W. SCOTT
   United States Attorney
 2 TODD A. PICKLES
   ROSANNE L. RUST
 3 Assistant United States Attorneys
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900
 6
   Attorneys for Plaintiff
 7 United States of America
 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10
11 UNITED STATES OF AMERICA,                              CASE NO. 2:17-CR-00207 MCE

12                                 Plaintiff,             STIPULATION AND ORDER TO CONTINUE
                                                          JUDGMENT AND SENTENCING HEARING
13                           v.

14 DONALD FREEMAN, JR., et al.,
15                                 Defendants.

16
17          Plaintiff United States of America, by and through its attorney of record, Assistant United States

18 Attorneys Todd A. Pickles and Rosanne L. Rust, and defendants Donald Freeman, Jr. and Juan Arturo
19 Arroyo Gomez, by and through their respective counsel of record, hereby stipulate:
20          1.       By prior order, this matter was set for judgment and sentencing for defendant Freeman on

21 September 27, 2018, and for defendant Arroyo Gomez on October 11, 2018.
22          2.       By this stipulation, the parties jointly request that this Court continue the judgment and

23 sentencing hearing for both defendants until December 13, 2018 at 10:00 a.m., and to reset the dates for
24 all sentencing documents accordingly.
25          3.       Because the defendants have pleaded guilty, the provisions of the Speedy Trial Act do

26 not apply to this request.
27          4.       Additionally, the defendants expressly agree that they will appear before the Court on

28 December 13, 2018 at 10:00 a.m., and acknowledge that their failure to appear on that date may result in


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30    INITIAL APPEARANCE
                 Case 2:17-cr-00207-KJM Document 35 Filed 08/03/18 Page 2 of 3


 1 their immediate incarceration, that the United States may file additional charges for their failure to
 2 appear, which could result in a sentence of up to 10 years imprisonment in addition to the sentence

 3 imposed in this case, and that any failure to appear may jeopardize any motion for downward departure
 4 under U.S.S.G. § 5K1.1 that the United States might file based on any substantial assistance provided to

 5 the prosecution to date.
 6          5.       Counsel for the defendants agrees that they will provide a copy of the Court’s order to

 7 their clients and directly inform them upon entry of the Court’s order.
 8          IT IS SO STIPULATED AND REQUESTED.

 9   Dated: July 31, 2018                                     MCGREGOR W. SCOTT
                                                              United States Attorney
10
                                                       By: /s/ Todd A. Pickles
11                                                         TODD A. PICKLES
                                                           ROSANNE L. RUST
12                                                         Assistant United States Attorneys
13   Dated: July 31, 2018                                  /s/ David Garland (as authorized on
                                                       By: 7/31/2018)
14                                                         DAVID GARLAND, Esq.
15                                                            Counsel for defendant Donald
                                                              Freeman, Jr.
16
     Dated: July 31, 2018                                  /s/ Mary Ann Bird (as authorized on
17                                                     By: 7/31/2018)
                                                           MARY ANN BIRD, Esq.
18
                                                              Counsel for defendant Juan Arturo
19                                                            Arroyo Gomez
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 1                                                  ORDER

 2          The Court hereby continues the judgment and sentencing hearing for defendants Donald

 3 Freeman, Jr. and Juan Arturo Arroyo Gomez to December 13, 2018 at 10:00 a.m. Both defendants are
 4 hereby ordered to appear in Court on that date at that time. All dates previously set for the preparation

 5 of the Presentence Investigation Report and for the filing of documents with the Court are reset
 6 consistent with judgment and hearing date of December 13, 2018.
 7          IT IS SO ORDERED.

 8 Dated: August 2, 2018
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      STIPULATION AND ORDER RE: CONTINUANCE OF          3
30    INITIAL APPEARANCE
